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              EXHIBIT A
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                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


 LAS AMERICAS IMMIGRANT ADVOCACY
 CENTER, et al.,
                                                 Civil Action
               Plaintiffs,                       No. 1:25-cv-00418-CJN

       vs.                                       March 14, 2025

 KRISTI NOEM, et al.,

             Defendants.                 Washington, D.C.
 _______________________________________________________________

 MAIKER ALEJANDRO ESPINOZA ESCALONA,
 et al.,
                                                 Civil Action
               Plaintiffs,                       No. 1:25-cv-00604-CJN

       vs.                                       March 14, 2025

 KRISTI NOEM, et al.,

             Defendants.                 Washington, D.C.
 _______________________________________________________________

    TRANSCRIPT OF THE HEARING FOR TEMPORARY RESTRAINING ORDER
              BEFORE THE HONORABLE CARL J. NICHOLS
                  UNITED STATES DISTRICT JUDGE

 APPEARANCES:

 For the Plaintiffs:        LEE GELERNT, ESQ.
                            American Civil Liberties Union
                            125 Broad St.
                            18th Floor
                            New York, NY 10004

 For the Defendants:        DREW C. ENSIGN, ESQ.
                            U.S. Department of Justice
                            950 Pennsylvania Avenue
                            Washington, DC 20004

 Court Reporter:            Stacy Johns, RPR, RCR
                            Official Court Reporter

   Proceedings recorded by mechanical stenography, transcript
            produced by computer-aided transcription



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                          P R O C E E D I N G S

           DEPUTY CLERK:     Good afternoon, Your Honor.          These are

 civil cases year 2025-418, Las Americas Immigrant Advocacy

 Center, et al., versus Kristi Noem, et al., and civil case year

 2024-604 Maiker Alejandro Espinoza Escalona, et al., versus

 Kristi Noem, et al.

           Counsel, please come forward to introduce yourselves

 for the record, beginning with the plaintiff.

           MR. GELERNT:     Good afternoon, Your Honor.         Lee Gelernt

 from the ACLU for plaintiffs.

           THE COURT:     Mr. Gelernt.

           MS. CHO:      Good morning.   Eunice Cho on behalf of the

 plaintiffs; thank you.

           THE COURT:     Ms. Cho.

           MR. AZMY:     Good afternoon.     Baher Azmy from The Center

 for Constitutional Rights on behalf of the plaintiff.

           THE COURT:     Mr. Azmy.

           MS. ALAGESAN:     Good afternoon, Your Honor.          Deepa

 Alagesan from the International Refugee Assistance Project.

           THE COURT:     Ms. Alagesan.

           MR. ENSIGN:     Good afternoon, Your Honor.         Drew Ensign,

 Deputy Assistant Attorney General for the defendants.

           THE COURT:     Mr. Ensign.

           MS. WILSON:     Sarah Wilson for the defendants.

           THE COURT:     Ms. Wilson.




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           MR. FLENTJE:     August Flentje for the defendant.

           THE COURT:     Mr. Flentje.

           We are here -- let me just ask if everyone who is, I

 believe, counsel or associated with a party participating by

 phone to please put your phone on mute.          We are getting some

 feedback in the courtroom.       Thank you, very much.

           We're here on the motions for temporary restraining

 orders, slash stays in both cases.

           Let me just state what I have done to prepare for

 today:   Reviewed what I believe to be basically the entire

 record; that is to say, the parties' various briefs and all of

 the declarations and supporting materials submitted in both

 matters through and including those submitted yesterday by

 plaintiffs.    So I have a decent handle on the facts.

           What I'd like to do is basically deal with the cases

 together; that is to say, start with plaintiffs, have

 plaintiffs argue in support of their motions in both cases.

 And I'll turn it to defense counsel to argue against the

 motions in both cases, and then I'll turn it back to the

 plaintiffs for a rebuttal as warranted and perhaps even a

 surrebuttal for the defendants as required.

           Okay.    So with that, Mr. Gelernt, will you be taking

 the lead?

           MR. GELERNT:     Yes, sir.

           THE COURT:     You may approach.




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           MR. GELERNT:     Thank you, Your Honor.

           I'll start with the access cases.          As we informed the

 Court, the parties have narrowed the issues significantly since

 we first filed this case, and I believe that there are only a

 few issues remaining.      And perhaps even less than that if the

 government has made progress in the last 24 hours since we've

 had a meet and confer.

           The main issue I think that still is outstanding is

 the inability to have in-person visits, and we believe that

 that is critical for the lawyers and the clients, to see the

 conditions, to understand what's going on, to understand their

 rights.   It's very difficult on the phone, even to the extent

 that we can reach them on the phone.         And, of course, in U.S.

 ICE facilities, it's self-evident that there is access,

 in-person access.       There is even access to the law of war

 detainees at Guantanamo.      And, of course, there's access to

 prisoners in BOP facilities.

           So we have not seen a justification for not allowing

 us in-person access, especially since the law of war detainees

 are allowed to go there.

           Now, the government has said that they haven't come to

 a full decision on that.      We understand that, but on the other

 hand, it's been going on a while now.          And we would like an

 answer from them one way or the other.          And maybe the Court

 will be able to get an answer from them about that.




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           And we recognize, you know, at full acknowledgment

 that there is nobody at GTMO now, and that seems to be a

 pattern every time we're going to come before Your Honor, it

 seems to be emptying out.

           And so while it may not be necessary this second to

 have that resolved, I think unless the government is willing to

 tell the Court this is when we're sending people back, it may

 be necessary for the Court to resolve this before other people

 are sent back.

           THE COURT:     Are there any other changes to the access

 practices at Guantanamo that you seek beyond in-person that

 haven't been resolved through the discussions with government

 or the government's own unilateral decisions?

           MR. GELERNT:     So, Your Honor.      I think there are a

 couple of things I just wanted to mention, but it may be that

 the government can stand up and say we have dealt with those

 even since --

           THE COURT:     Well, just make sure I understand from

 your perspective.

           MR. GELERNT:     Absolutely, absolutely.

           So one is that originally as Your Honor knows, they

 were only sending Venezuelan men.        Now the declarations say

 they have sent people from 27 different nationalities, but

 they're only providing forms in English and Spanish.              And so

 that's obviously going to be a problem.




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           They haven't told us all the 27 nationalities or all

 the different languages, but I think it's fair to assume that

 they don't all speak Spanish.          And so in ICE facilities they

 translate into ten different languages.           We would expect them,

 at a minimum, to do the 10, and we're certainly happy to assist

 in the translation.      But that, that is a significant issue.

           The other issue may not really be an issue.               It's that

 we are hearing from detainees to the extent that they're able

 to call out the family, that they're being told they can't say

 where they are, that they're at Guantanamo.               The government has

 said -- I don't want to put words in their mouth.               I mean, I'll

 let the government speak for itself.

           The government is saying that's not true, that's not a

 policy.   So I think maybe that's more in the nature of the

 government will hopefully clarify with the guards there, that

 while the detainees can't say specifically what the layout of

 the base is, that seems to be what the government is concerned

 about, they can at least say we're at Guantanamo, we're no

 longer at the U.S. facility that you were previously calling us

 at.

           So I think that rounds out the access issues.               And the

 most important, obviously, where we really have no meeting of

 the mind is the in-person visit.

           THE COURT:     Right.    So I'll ask the government about

 these three points, but just staying on the access cases, given




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 the facts as I understand them, what is the irreparable harm

 currently being suffered by any plaintiff in the access case as

 a result of one or more of those issues?

           MR. GELERNT:     You mean because there's nobody there

 now?

           THE COURT:     Yeah.

           MR. GELERNT:     Right.      So I think, Your Honor --

           THE COURT:     Put differently --

           MR. GELERNT:     Right.

           THE COURT:     -- there is no one to visit in person?

           MR. GELERNT:     Right.

           THE COURT:     There is no one who would need a ten

 language notice, and there's no one who is prohibited from

 saying where they are, if that's even happening?

           MR. GELERNT:     Right.

           THE COURT:     So there is no current harm in these three

 ways being suffered imminently; and therefore, not irreparably?

           MR. GELERNT:     Right.      So, Your Honor, I take the

 point.   The problem for us is that we get no notice.              We've

 asked the government for notice, but we get no notice.               So

 people are sent immediately to Guantanamo with zero notice.

 Counsel doesn't know about it, and so by the time we can try

 and come back to this Court, they keep moving people off of

 Guantanamo.    It's happened twice now.

           THE COURT:     Maybe there's a capable repetition yet




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 evading review issue lurking in this case in the future in the

 event it's not dismissed, but the hallmark of a TRO is the

 plaintiff's ability to establish irreparable -- immediate,

 imminent irreparable harm absent the TRO.            And I'm trying to

 figure out who is affected in any way by these three practices

 right now.

           MR. GELERNT:     Right.      I mean, because there's nobody

 at Guantanamo, I understand it's a fair point, Your Honor.               But

 I think we're in one of those catch-22 situations --

           THE COURT:     How could I possibly enter a TRO with no

 current irreparable harm?

           MR. GELERNT:     Well, I think Your Honor can, given the

 unique circumstances where the government is moving people

 there without any notice and then quickly taking them off.               And

 so I think there's a little bit of gamesmanship going on here,

 and so I think what the Court can do if it's concerned about

 that is ask the government that it at least alert you, even if

 it's not willing to alert us, we are bringing people back; and

 therefore, once people get back, we can be in court

 immediately.    But the problem for us has been continuously that

 the government says there's no irreparable harm, there's nobody

 there.

           The next day they bring people, we come back to you,

 and then all of a sudden, they're gone.           And each time they

 file their papers and then all of a sudden have moved everyone




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 off, and so I think at a minimum Your Honor could insist that

 the government at least give you notice.           Because otherwise, I

 think it's a sort of a gamesmanship with the court as well.

            THE COURT:    So this discussion you and I have been

 having is predicated on your sense that there is no alien

 detainee at Guantanamo in the cohort that is relevant here.

 I'm not sure that's in the record, but that, I take it, is your

 understanding or at least your proffer to me today?

            MR. GELERNT:     That's my proffer.      I'm happy for the

 government to say that's incorrect.          I don't think they will,

 and I think the public -- you know, the public reporting,

 obviously the media could be wrong.          But there are reporters at

 Guantanamo, and apparently there's no one there.             And I would

 be happy for the government to say that that's not true, but I

 also think the government will not say that they are not going

 to send people back there in the future.

            They've also said to us they will not give notice, and

 so I think we'll be back here again.          And the Guantanamo

 detainees would have been moved right after the filing, and

 they'll be back here saying the same thing to you, that there's

 no irreparable harm because there's no one there.

            THE COURT:    Okay.   So now let's turn to the second

 case.

            MR. GELERNT:     So we have three basic claims.          One is

 we don't think there's statutory authority to send these




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 individuals to Guantanamo.       We secondly say that it's arbitrary

 and capricious under the APA.           And third, that there's a

 substantive due process violation.

            Just as an overview and as the Court is obviously

 aware from reading the papers, this is unprecedented.                 The

 government has never taken a position that they can detain

 people at Guantanamo, never has done so.             The President's

 memorandum actually said just start building capacity and

 specifically at the MOC and only for high-level --

            THE COURT:    Well, the government has detained certain

 aliens at Guantanamo in the past.           I'm not talking about law of

 war.

            MR. GELERNT:     Right.

            THE COURT:    I'm talking about Migrant Operations

 Center.

            MR. GELERNT:     That's fair, Your Honor.

            THE COURT:    As I understand it, those are aliens

 picked up, generally speaking, say in the Caribbean, and they

 are put in the Migrant Operations Center.             So, in fact, the

 government has detained at Guantanamo certain aliens in the

 past.

            MR. GELERNT:     Right.      And so just to be clear, those

 are exclusively people who were picked up outside of U.S.

 territory.    And the government has actually said we are not

 detaining them.     There is -- I don't think the government will




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 dispute that.

            THE COURT:    Yes.     I wasn't meaning detained there, in

 a term of art sense.      Yes.     It's colloquial, yes.

            MR. GELERNT:     Right.       And so I think that makes all

 the difference from our standpoint, is that they never were on

 U.S. soil.

            And so our two statutory arguments are first that this

 constitutes a removal.       They have removed people to Cuba.              The

 government says, no, we didn't intend to do that, but the

 subjective intent is not part of the statute under 1103(g).

 It's have you departed, and the cases suggest that.

            So I don't think the government can get away with

 simply saying, well, we didn't intend to remove them.

            But alternatively, if it's not a removal, I think the

 government will concede that they are detaining immigrants

 there, and we are not aware of any statutory authority,

 extraterritorial detention authority, for people who were once

 on U.S. soil.

            THE COURT:    Right.      The INA gives the Attorney General

 pretty broad authority to detain and to determine where it's

 appropriate to do so, but your argument is that that butts up

 against the presumption against extraterritoriality?

            MR. GELERNT:     Exactly.      And I think, you know, to be

 clear, the government has consistently for decades taken a

 position that the INA doesn't apply extraterritorially, told




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 the Supreme Court in the Sale decision involving Haitians, it

 doesn't apply extraterritorially.           That's been their position

 consistently, and so the way they're trying to get around that

 is now all of the sudden saying well, yes, the detention

 statutes don't mention extraterritoriality, but they're really

 part and parcel of the removal process, but that's a contrived

 argument, respectfully.

            The government has never understood detention and

 removal to be the same thing.           We have a declaration from an

 ICE officer who was there for a long, long time saying

 detention and removal were always understood to be different.

 And the statute they're relying on, in particular, 1231(g) says

 detention...appropriate places of detention...pending removal.

            And so the government has now tried to analogize it to

 a stopover to refuel in Germany on the way to Romania.                 That is

 an inapt analogy.       That is not detention in the same way that

 sending people to Guantanamo for days on end.               This is a

 classic detention.      The government has never understood

 detention and removal to be the same thing, and given the

 presumption and given coercive nature of detention, we don't

 see how the Court can find that these detention provisions

 apply extraterritorially.

            THE COURT:    Do you agree that if the government

 decided that for whatever reason for aliens who have removal

 orders and have exhausted all of their claims that they're




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 going to build a new facility in Key West and put folks there,

 that that would fit within this -- and put people there pending

 their removal, that would fit within this authority, the (g)

 authority?

            MR. GELERNT:     Yes, Your Honor.      Unless I'm missing

 something about the hypothetical about Key West, in particular.

            THE COURT:    No, no.

            MR. GELERNT:     Okay.

            THE COURT:    I was just trying to pick something --

            MR. GELERNT:     Yeah.

            THE COURT:    -- that's geographically somewhat

 proximate to Cuba --

            MR. GELERNT:     Okay, I understand.

            THE COURT:    -- but it's within the territory of the

 United States.

            MR. GELERNT:     I apologize, Your Honor.

            THE COURT:    Yeah.

            MR. GELERNT:     We have no objection.        I mean, there

 could be other objections for whatever reasons -- in

 particular, counsel could have objections to moving their

 client.    But no, and I want to be clear about that.

            We are not saying these individuals are entitled to

 get out of detention or that they have any right to stop

 detention moving within facilities, and the government does

 that all the time.      And generally speaking, you can't challenge




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 that.    I mean, again, there may be particular people who can

 challenge it.

            THE COURT:    Okay.   So to go back to where I started in

 the other case --

            MR. GELERNT:     Right.

            THE COURT:    -- which is irreparable harm.

            MR. GELERNT:     Right.

            THE COURT:    What is the imminent irreparable harm for

 the plaintiffs in this case?

            MR. GELERNT:     Yeah.      Again, without belaboring the

 point too much, we don't know that these individuals, the

 minute we walk out of court, will not be at Guantanamo.                    And

 that's --

            THE COURT:    So let's imagine hypothetically --

            MR. GELERNT:     Yeah.

            THE COURT:    -- that were to happen, that one or more

 of the individual plaintiffs does get to GTMO.               This is going

 to be a question for government counsel, but so long as I have

 a case in front of me involving -- that hasn't been dismissed

 involving individual plaintiffs, I'm going to assume for

 present purposes the government would likely notify me of a

 change of circumstances that is relevant to their TRO

 opposition.

            One of their arguments in their TRO opposition is that

 none of these plaintiffs can establish imminent irreparable




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 injury, slash Article III injury, because they can't establish

 they're going to GTMO.       Well, at least part of that argument

 would disappear if they were to move one of the plaintiffs to

 GTMO while the case is pending.          That would seem to me a

 material change in facts the government should tell me about.

            Imagine that happened, so at least I get notice, and

 since it doesn't seem like that's the world's biggest secret,

 it seems like perhaps that could be filed publicly.                But

 imagine either that happens or because of the counsel access

 issues that you and I were discussing earlier, that person

 who's represented now in this case could let you know.

            At that point the imminence would be satisfied.                 Why

 couldn't I take up, then, whether there is sufficient harm,

 likelihood of success on the merits and the like?                And

 essentially why couldn't I cure at that time, if warranted, any

 purported harm?

            MR. GELERNT:     Right.      And so you're saying if one of

 them is transferred you would want that notice, and even if the

 other nine --

            THE COURT:    Well, imagine if I got --

            MR. GELERNT:     Yeah, yeah, yeah.        I understand.

            THE COURT:    We learn that plaintiff 1 --

            MR. GELERNT:     Right.

            THE COURT:    -- is now in GTMO.

            MR. GELERNT:     Right.




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            THE COURT:    There isn't a TRO, hypothetically --

            MR. GELERNT:     Right.

            THE COURT:    -- to prevent that.

            MR. GELERNT:     Right.

            THE COURT:    Now, all of the government's arguments

 about imminence of going to GTMO are water under the bridge.

            MR. GELERNT:     Right.

            THE COURT:    We litigate at that point whether all of

 the lawfulness stuff that we've been talking about, and as to

 irreparable harm, why couldn't that be essentially repaired

 through an order from me, if I were to conclude that you're

 right about all of the things you're saying now?

            MR. GELERNT:     Right.

            THE COURT:    And that order would be, sure, he's at

 GTMO now, but you're order to return him to Texas, Arizona, or

 otherwise.

            MR. GELERNT:     Right.      So I think a couple of things.

 One is, we don't see why -- playing along with the Court's

 hypothetical -- we don't see why they couldn't alert you before

 he's actually sent to Guantanamo.

            THE COURT:    Maybe.    Yes, but --

            MR. GELERNT:     And the reason I say that is because

 there is harm by going to Guantanamo. I mean, there's the

 normal harm as Your Honor has pointed out in your TikTok

 decision that when a statute is being enforced unlawfully, that




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 is harm.    That is irreparable harm, but I think there's also

 serious conditions questions at Guantanamo.

            So I don't think this is a question of, well, they may

 spend a few days at Guantanamo, and they can be brought back.

 There's no question we think Your Honor would retain

 jurisdiction and could bring them back, but I do think this is

 serious enough --

            THE COURT:    Again, just to be very clear --

            MR. GELERNT:     Yeah.

            THE COURT:    -- about the hypothetical.         I'm

 hypothesizing a world in which, right, I've taken up the

 initial question at the beginning of this case about whether to

 enjoin the transfer of these plaintiffs --

            MR. GELERNT:     Right.

            THE COURT:    -- but the case brought by these

 plaintiffs is still in front of me.          The government hasn't

 moved to dismiss.       I still have jurisdiction --

            MR. GELERNT:     Right.

            THE COURT:    -- and the like.

            MR. GELERNT:     No, absolutely.     I understand, Your

 Honor.

            And I would say that if the transfer was just from one

 U.S. facility to another and that's what we were challenging

 and the facilities were, sort of, of equal conditions, we would

 be saying that would be fine, Your Honor.




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            THE COURT:    So your view is someone who's transferred

 to Guantanamo and spends one day there suffers irreparable

 enough harm that I should order a TRO now, even though we don't

 know if any of them is going to go there, any of the ten

 plaintiffs here, and that an order -- a hypothetical order

 requiring that person to be moved back from GTMO couldn't undo

 that one or two days of irreparable harm?

            MR. GELERNT:     That's our view, Your Honor, in light

 of --

            THE COURT:    So what's the harm exactly?           Put some

 specificity around it.

            MR. GELERNT:     Yeah.      So I think that what we're

 hearing is that the people that are going to Camp VI are being

 shackled.    Sometimes there's a confinement chair, there is

 solitary, and so there's all those things plus the trauma of

 being sent to a military base.          And so we do think that that's

 a significant amount of harm even for a day or two.

            And on the other side of the ledger, we don't think

 it's really burdensome for the government to say we've decided

 we're going to send these people to Guantanamo, Your Honor.

 Can we come back into court before we do it?

            You know, this sort of understanding that Your Honor

 may be hesitant right now, or potentially hesitant right now,

 to do it, I think the solution is maybe not to send them to

 Guantanamo and have them be subjected to those conditions at




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 Guantanamo but the government to say, look, we've decided that

 we're going to send these individuals.            Can we get back before

 Your Honor and have this argument?

            I don't see the burden to the government to doing

 that; and otherwise, I think the government will hold people --

            THE COURT:    The government will likely say -- or may

 say -- no, it doesn't seem that burdensome when you're talking

 about ten specific plaintiffs, but if you apply the rule more

 broadly, that means we're basically giving the world notice of

 who we intend to send to Guantanamo, and there's harm there.

            MR. GELERNT:     Yeah.      I would -- well, first of all, I

 think the way Your Honor is framing the case, which is correct

 here, obviously, is that these are ten individuals.                So we

 could be having a different discussion.

            And if the government is concerned about what's going

 to actually happen with the 30,000, I think they would probably

 need to get up and say that right now they are intending to

 send thousands and thousands.

            THE COURT:    Right.     We'll see.

            MR. GELERNT:     But I think at some point, Your Honor,

 it may be that we're going to have to file some type of more

 systemic challenge, but for these ten individuals we do think

 that it's not burdensome for the government to let you know.

            If the government is coming in here and saying don't

 bother with a TRO, there's no problem, and then all of a sudden




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 we hear that they're at Guantanamo, I don't think there's any

 reason why they couldn't have told you in advance and get back

 before you.

            THE COURT:    Can we go back?      So thank you, I

 understand all that.

            I think -- two things I just wanted to address real

 quick.

            MR. GELERNT:     Yeah.

            THE COURT:    You know, I was focused more on the

 government perhaps voluntarily informing me if one of these ten

 plaintiffs --

            MR. GELERNT:     Right.

            THE COURT:    -- is going or ends up at Guantanamo.           You

 know, obviously alternatively I could -- maybe I would impose

 that as a requirement.       But in any event, it's also the case, I

 think, that as a result of the access case and the developments

 there that whether it's one of these ten plaintiffs or someone

 else, those potential future detainees at Guantanamo have the

 ability to reach out to counsel and ask to initiate -- assuming

 it's not one of these ten, like, someone else, could initiate a

 new suit.    And if it's one of these ten, to inform you of that

 and to have you come back and say this thing that we speculated

 is imminent has happened.       So to the extent that you denied the

 TRO, Judge Nichols, on imminence grounds, that's gone by the

 wayside.




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            MR. GELERNT:     Right.

            THE COURT:    So that is still at least possible, yes?

            MR. GELERNT:     That is possible.      And, you know, I

 don't want to repeat myself, but I do think there is real harm,

 given what we're hearing about what's going on at Guantanamo of

 sending these individuals --

            THE COURT:    No, no, I was getting to the -- I was --

            MR. GELERNT:     Whether we're going to hear about it?

            THE COURT:    Yeah, that there are, like, different

 mechanisms of that.

            MR. GELERNT:     Right.

            THE COURT:    Yeah.

            MR. GELERNT:     So I would say that we may not hear

 about it immediately.       So that I don't know that within

 ten minutes we're going to know they went to Guantanamo.                 There

 are problems, as the APA has noted in their declaration and

 other declarations by the attorney from Las Americas, of how

 quickly you can reach detainees and how quickly they can make

 calls out, and it's taking days.         So we could be looking at

 more than just a half a day, a day.          We could be looking at far

 more, and then we'd have to get back before Your Honor.

            The other thing is I think the government could send

 the people anywhere from Guantanamo and try and moot it again

 like that.    So there are all those concerns.

            And I hear Your Honor, and I don't want to sort of




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 belabor the point.       We do think that if Your Honor feels like

 he can't issue a TRO now, we would respectfully urge the Court

 to ask the government to give you notice before they're sent --

            THE COURT:     Well, obviously, I'll see what the

 government is --

            MR. GELERNT:      Right.

            THE COURT:     -- prepared to do --

            MR. GELERNT:      Right.

            THE COURT:     -- perhaps without an order.

            MR. GELERNT:      Right.

            THE COURT:     So now let's just circle back for a second

 to the merits.

            MR. GELERNT:      Yeah.

            THE COURT:     On the question of whether the INA

 authority in 1231(g) that says:          The Attorney General shall

 arrange for appropriate places of detention for aliens detained

 pending removal.        That's the universe of the people we're

 talking about --

            MR. GELERNT:      Right.

            THE COURT:     -- the ten plaintiffs here.

            For the proposition or for the question of whether

 that applies extraterritorially, just the pure statutory

 interpretation question, is any deference due, in your view, to

 the executive branch's position, I guess that it does, that

 this is a grant of authority, at least part of the grant of




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 authority that's relevant here?

            MR. GELERNT:     Right.      So I think after Loper Bright,

 there's real questions about what kind of deference is owed to

 the executive branch or the agencies.            But I would actually

 flip it and say that in here, to the extent that the executive

 branch's view of the statute is relevant, real skepticism

 should be brought under the utility case and the other recent
 Biden v. Nebraska.      Because the government has never taken the

 position that they have extraterritorial authority to detain

 and has never detained outside this country.               So I think that

 alone, the unprecedented nature of this should give the

 Court --

            THE COURT:    Is this the kind of statute to which the

 presumption against extraterritorial application kicks in?

            MR. GELERNT:     I think it is, Your Honor.           I don't see

 any reason why it wouldn't.        And I would note that the

 government has consistently told the Supreme Court and the D.C.

 courts that the INA does not apply extraterritorially, and that

 was the basis for the court's decision in the Sale v. Haitian
 Centers case.

            THE COURT:    Has it been that general as opposed to

 saying this provision of the INA that's at issue in front of

 you does not apply extraterritorially?

            MR. GELERNT:     I think the government -- there's no

 question Your Honor can proceed provision by provision under




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 the --

            THE COURT:    I'm just talking about what the

 government's --

            MR. GELERNT:     Right.

            THE COURT:    -- prior representation is.

            MR. GELERNT:     I will obviously let the government say,

 but we understand the government's representations from looking

 at the briefs and going back and being involved in cases that

 it has been a general statement.           Obviously the removal

 statutes apply extraterritorially.           That's inherent.

            THE COURT:    In a way, yes, right.

            MR. GELERNT:     But the government has never taken the

 position that detention in facilities like 1231(g) talks about

 is part and parcel of the removal.           I think that would just

 blow open the whole concept of removal, and I think that's why

 the declaration from Deborah Fleischaker is so important to

 talk about the history of how the agency has always understood

 it.

            And so I think for that reason, this is an enormous

 step for the agency to take.           I know you were focused on the

 statutory question now, but it does bleed into our arbitrary

 and capricious claim.

            THE COURT:    I wanted to explore --

            MR. GELERNT:     Yeah.

            THE COURT:    -- just a little bit more the statute.




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            MR. GELERNT:     Yeah.

            THE COURT:    So I guess your view would be if, for

 example -- I hope this isn't a terrible example.             The

 government said we want to move -- I'm not using that as a --

 it's not a term of art here -- move some detainees with final

 orders of removal to the Air Force base at Keflavik, Iceland,

 the government would or would not have the authority to do

 that?

            MR. GELERNT:     Unless I'm missing something about

 Iceland, that would be extraterritorial.           The INA is very

 specific about the places that are considered the United

 States, and we think that would be equally unlawful because

 it's extraterritorial --

            THE COURT:    I was just posing --

            MR. GELERNT:     Yeah, no.

            THE COURT:    -- another country with another military

 base --

            MR. GELERNT:     Yeah.

            THE COURT:    -- that is ours but --

            MR. GELERNT:     No.   There's no question, Your Honor,

 that the atmospherics of Guantanamo, the conditions there and

 the military aspect of it play into the various -- but for the

 matter of statutory interpretation, you're right, Your Honor --

            THE COURT:    Okay.

            MR. GELERNT:     Our position would be the same whether




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 it's Iceland or somewhere else.

            THE COURT:    Okay.   So now walk me through the

 arbitrary -- so there's the question of obviously acting with

 statutory authority, and there's the statutory questions

 here --

            MR. GELERNT:     Right.

            THE COURT:    -- but then, obviously, you have your APA

 arbitrary and capricious claim.

            MR. GELERNT:     Right.      So the government, to begin

 with, has departed significantly from the President's

 memorandum.     The President's memorandum did not actually even

 say start transferring people.          It just said build up the MOC,

 and it said -- and then send high-level criminal aliens to the

 MOC.

            And so right away what we have are people being sent

 to Camp VI where the conditions are horrendous.               I mean, it's a

 military camp, and whether they're horrendous for purposes of

 law of war detainees, that's a separate question.                They

 certainly are for immigration detainees, and they are not --

 and I think they would concede this -- that they are not

 sending all high-level criminal alien detainees.               I think many,

 many of them just have straight immigration violations.                    We

 don't even know if any of them are high-level criminals.

            THE COURT:    I know you say that --

            MR. GELERNT:     Right.




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            THE COURT:    -- and I'm not suggesting it's not true,

 but does the record reflect that?         In other words, does the

 record presently reflect that the nature of post removal

 ordered detainees at GTMO, the nature of that detention --

            MR. GELERNT:     Yeah.

            THE COURT:    -- is substantially worse than the nature

 of the detention at a facility in El Paso?

            MR. GELERNT:     I think it does from declarations of

 detainees, from the declarations of the people -- the attorneys

 who have talked to them, I think it does.           And I don't think

 the government is really disputing that there is shackling

 going on, that there is strip searches going on.

            They have said that they will try not to use their

 confinement chair any longer, but, you know, they have conceded

 that they have done that.       And so I think there's no question

 that it's worse, and perhaps that's why the President didn't

 say send people to Camp VI.

            It was very specific in the memorandum, build up the

 MOC.   It wasn't even saying send people there, but build up the

 MOC.   It didn't mention Camp VI.        Obviously the President knew

 that there are different parts of --

            THE COURT:    So is your argument that the agency acts

 arbitrarily and capriciously if it goes beyond the President's

 memorandum on a question?

            MR. GELERNT:     Not per se arbitrary and capricious, but




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 I think it's definitely relevant, because then I think the

 agency can't fall back on the idea that, well, we're just

 following the President's wishes.           The agency is now saying

 we're responsible for this.        We have statutory authority to do

 it.   Yes, we didn't follow the President's memorandum, but we

 think we're going to do this.

            So I think it was relevant in that sense that -- as

 precluding the government from falling back on it.

            The other -- sort of the second part of it is that we

 cannot find any rationale based on the declarations from

 Fleischaker and others -- and I think the government's own sort

 of concessions -- about why they would hold people at

 Guantanamo, and certainly not these 290.             There's a conclusory,

 and it really is conclusory.           It's all of a sentence saying we

 need this for detention capacity.           But as the Fleischaker

 declaration points out, there's plenty of space now for the

 minimum number of people they're sending.

            It is far cheaper as well to build new facilities in

 the U.S.    The complexity of sending people to Guantanamo has

 been enormous, and, in fact, now they are not even removing

 people from Guantanamo.       They tried to say it's a staging area,

 but what's happening now is they're sending everyone back to

 the U.S. for removal.       So there seems to be no rationale for

 sending people to Guantanamo.           There's been a lot of publicity

 around it.    Secretary of Homeland Security has --




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            THE COURT:    What does the record reflect about that

 point you just made?      That's coming from news reports?

            MR. GELERNT:     That's from news reports.         I don't think

 the government will deny that everyone has been sent back from

 Guantanamo --

            THE COURT:    I don't know what they would say about the

 reason for that.

            MR. GELERNT:     I think that they are going to -- I hope

 that they will concede that they are having trouble removing

 people from Guantanamo, but I don't know what rationale there

 could be for sending people to Guantanamo for a few days and

 then sending them back.       I mean, that just makes it that much

 more illogical.

            The cost is enormous.        The complexity of sending

 people to Guantanamo is enormous, and so we're at a loss.                 And

 I think more importantly, the experts are of rationale for

 sending people to Guantanamo other than sort of a feeling of

 we're going to send a message.

            And as the civil detention cases make unmistakably

 clear, that is not a permissible basis for civil detention; and

 so, in many ways the arbitrary and capricious claim may be the

 easiest thing for the Court to rule on because you're not

 saying they don't have statutory authority.

            I mean, we would like you to rule on the statutory

 question, but obviously on the arbitrary and capricious




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 question, if the agency can come back and justify the enormous

 expense, logistical complexity, and why they're sending people

 to Guantanamo and then sending them right back to the U.S., I

 think then we would have -- you know, we could come back on all

 the other claims, including the arbitrary and capricious claim.

            But right now I don't think that the government has

 offered any logical reason for it other than, again, literally

 a sentence, we're doing this for detention capacity.

            So for that reason, I do think this is a very serious

 arbitrary and capricious claim.         I don't think the government

 is fully engaged with it on the merits.           They're trying to say

 there's no final agency action, but, of course, there is, or

 that we're having a programmatic challenge.              We are not.      It's

 a very discrete challenge to a particular policy of sending

 people to Guantanamo.

            As Your Honor pointed out, if they were sending people

 to West Palm, would that be different?          Yes, that would be

 different.    We're not saying any transfer anywhere, but the

 government is up for challenge.         So in many ways --

            THE COURT:    No, but there is a question here which is,

 imagine West Palm, Key West, whatever it is, if a detainee with

 a final order of removal wanted to challenge his transfer from

 Texas to West Palm, what is the nature of the cause of action

 that detainee would rely on?

            MR. GELERNT:     I think people have tried various




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 claims, due process claims, right to counsel, if they're moved

 far from their counsel --

            THE COURT:    You can grab some water, if you like.

            MR. GELERNT:     I am sorry?

            THE COURT:    You can grab some water, if you like.

            MR. GELERNT:     Yes, thank you.     Sorry about that, Your

 Honor.

            THE COURT:    No problem.

            MR. GELERNT:     You know, frankly I will just say that

 those cases have not prevailed.         People have tried --

            THE COURT:    Why isn't the nature of the cause of

 action identical?       In other words --

            MR. GELERNT:     Well, I think --

            THE COURT:    -- do you have an APA claim, yes, no?

            MR. GELERNT:     Well, I think the claims would be -- I

 mean, our statutory claim would obviously be different --

            THE COURT:    It would.

            MR. GELERNT:     -- because it's extraterritorial.

            THE COURT:    It would, but do you have a cause of

 action?    What's the cause of action that you assert?

            MR. GELERNT:     I think the APA would be our cause of

 action.    I think also equitable -- this Court's equitable

 authority.    I think both of them would be cause of action.             I

 think they may be the same cause of action for a transfer from

 Texas to West Palm.      I just don't think that those cases have




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 succeeded on the merits except in rare situations, but those

 would be our causes of action.

            THE COURT:    Very well.      Do you want to say a word or

 two about the constitutional claim?

            MR. GELERNT:     Yeah.      So on the substantive due

 process, I think it boils down to the question of this is civil

 immigration detention.       The government doesn't dispute that,

 and the law has been clear for a long time that the conditions

 and the purposes for civil immigration detention cannot be the

 same as for -- in the criminal context.             And the conditions

 need to be at least as good or better; otherwise, there's a

 presumption of unconstitutionality.

            And so I think here we have two parts to it.               One is

 that we don't think there's a legitimate purpose, and that sort

 of dovetails with our arbitrary and capricious claim that they

 haven't put forth a proper rationale.            And they've conceded

 that at least one of their purposes is general deterrence, and

 that has not been held to be a proper motive.

            The other part of it is the conditions which we

 have --

            THE COURT:    I know you said they conceded that, but I

 went back and looked at the government's brief and I don't

 think their concession is quite as clear as you suggest.

            They, they do say -- the government doesn't dispute

 that mass removal efforts are intended, in part, to deter




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 illegal migration.      And that separately, the efforts to find

 bed space to stage removal operations is related to the removal

 effort.    Then that does not mean, however -- this is the quote

 -- that the decision to use GTMO is based on an improper

 deterrence rationale.

            So they're not conceding in their brief, at least

 that --

            MR. GELERNT:     That it's improper.

            THE COURT:    -- that it's deterrence.

            MR. GELERNT:     Right.

            THE COURT:    They're saying mass removal has a

 deterrent component.      This is part of the mass removal effort,

 but that's not the same as saying we're conceding that sending

 people to GTMO is for deterrence purposes by itself.

            MR. GELERNT:     Right.      So I think that's fair, Your

 Honor.    It's a little bit tricky the way they're phrasing it.

 I'm not sure why they're making that point if they're not

 trying to justify the detention at Guantanamo along those

 lines.    And if you say every piece of detention is ultimately

 about removal in some ancillary way, then, of course, you can

 get around the case law by saying you can't detain for a

 punitive purpose.

            THE COURT:    Right.

            MR. GELERNT:     So I think, you know, it probably proves

 too much the government's argument.            And then they obviously




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 fall back on the detention capacity.          Again, I don't belabor

 that point.

            So we don't think they've put forward a proper

 purpose, and I think Your Honor can take notice of how much

 publicity they've done around the Guantanamo.             And those do not

 seem to be focused on detention capacity.

            The second part of it is, again, the conditions.              That

 the conditions have to be -- there's a presumption that if

 they're as bad or worse than conditions in prisons, and here

 the conditions are far worse than in ICE facilities where they

 don't remotely do shackling, they won't strip search you absent

 a good reason, there's no confinement chair.

            For all those reasons we think there's a due process

 violation.

            THE COURT:    Anything you'd like to add, counsel,

 before I turn it over to the government?

            MR. GELERNT:     No, Your Honor.     I'll step down now.

 Thank you.

            THE COURT:    Thank you very much.

            Counsel?

            MR. ENSIGN:    Good afternoon, Your Honor.          I'll be

 handling the second case relating to the authorities issues

 that you were just talking about, and Ms. Wilson will be

 handling the first action.

            THE COURT:    Okay.




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            MR. ENSIGN:    Plaintiffs request for a TRO should be

 denied most obviously because plaintiffs lack standing.                  This

 is not a close case.      Much like the plaintiffs in Lyon,
 Clapper --

            THE COURT:    I get the argument.

            MR. ENSIGN:    Yeah.

            THE COURT:    I get the cases.

            So what's the government's view on whether -- there

 are ten plaintiffs here.       They're all in the United States.

 Unless and until this case is dismissed, and the government

 hasn't moved to dismiss it yet, there are plaintiffs in front

 of me.

            The government's argument is the plaintiffs presently

 lack standing and don't suffer irreparable harm because we

 don't know whether they're going to be transferred to GTMO.                 If

 that changed while the case was still pending, is the

 government prepared to notify me of that change?

            MR. ENSIGN:    We are certainly prepared to notify the

 Court that our submissions have changed.           I believe -- I can't

 commit that we would do so before doing that.             I would need to

 speak to DHS, but if changed circumstances caused our

 submissions to this Court to change, then we would provide

 notice to this Court of changed circumstances.

            THE COURT:    So in other words, at a minimum, in the

 event that one of the plaintiffs here were sent to GTMO, the




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 government would notify me of that fact at a minimum after it

 had happened?

            MR. ENSIGN:    Yes, Your Honor.      I think we could

 further agree that plaintiffs could have standing leave to

 amend if any of them were at Guantanamo in order to challenge

 in that circumstance, and then the standing issues presented

 would be, I think, very different in that context.

            THE COURT:    Okay.

            MR. ENSIGN:    And so, you know, if they want to come

 with an amended or a supplemental complaint, I think we can

 consent to leave so that they could raise it at that time.

            THE COURT:    Okay.   Thank you.

            MR. ENSIGN:    More than just standing, Your Honor, I

 think -- and you've already recognized this as well.

 Plaintiffs have failed to establish likely irreparable harm

 here.    Winter specifically requires that, and it expressly

 rejects a mere possibility standard as insufficient.

            If you look at page 25 of their reply brief, they

 don't even argue that irreparable harm is likely, and nor do

 they respond to the Winter point whatsoever.             They don't cite
 Winter a single time in their reply brief at all, in fact.

            So I think perhaps the simplest way to resolve this

 TRO here is that there's no likely irreparable harm,

 particularly in the short window of time that you're talking

 about with the TRO.




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            THE COURT:    Right.    And do you agree relatedly with

 the thrust of the questions that I was asking plaintiffs'

 counsel; which is, again, to use the hypothetical, one of the

 ten plaintiffs perhaps is transferred to Guantanamo Bay.                  Let's

 just assume that the only commitment the government is willing

 to give me is that it will tell me thereafter.

            Plaintiffs can amend.        Plaintiffs can renew the TRO.

 We would have at least a plaintiff in a different factual

 setting for purposes of standing and alleged irreparable harm,

 and that to the extent there is irreparable harm at that point,

 it would be reparable, potentially, at least, through an order

 from me.

            I know the government would likely take the position

 that I shouldn't enter that order, but just talking about

 reparability or not, if there were then irreparable harm, it

 would be remediable by me.

            MR. ENSIGN:    I believe that's correct, Your Honor.             I

 mean, certainly we have a number of other defenses that would

 come in, including jurisdictional bars the merits, that whole

 panoply.    But if you held for plaintiffs on all those bases, I

 don't see any restrictions on the authority of this Court to

 provide such relief.

            THE COURT:    Right.

            MR. ENSIGN:    And I'd note further that that is not

 particularly hypothetical.        The plaintiffs in the first case




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 here were, in fact, in Guantanamo and sued about that, and we

 did not --

            THE COURT:    Well, not exactly.       Their next friends

 sued, and the advocacy groups sued.          The actual plaintiffs were

 not Guantanamo detainees.

            MR. ENSIGN:    That's correct, Your Honor.          And I

 apologize for that.

            THE COURT:    No, no, I think it's a not unimportant

 distinction, because the plaintiffs say, well, this could be

 relatively fleeting detention, and even if notice occurred and

 even if there was an amendment and a change of the way one

 thinks about these cases, it could get mooted out from under

 you.   And that's what happened in the other case in their --

 you know, or one could think of it that way, at least.

            MR. ENSIGN:    Your Honor, Article III courts have

 developed doctrines such as the capable of repetition yet

 evading review doctrine that might have some applicability in

 that circumstance, but there are not exceptions to Article III

 just because plaintiffs think that their case is extraordinary.

            THE COURT:    So I think I have a pretty good handle on

 the interplay between harm and imminence and irreparability and

 the like.

            What about on the merits?       One of the questions I

 obviously was asking plaintiffs' counsel is whether the

 authority under 1231(g) extends extraterritorially.              What's the




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 government's position on that?

            MR. ENSIGN:    Yes, Your Honor.      Our position is that it

 does; and, in fact, that it's effectively impossible to carry

 out the government's duties as congress intended without such

 authority.

            So let me take that in a couple of different steps

 because I think it shows how plaintiffs' argument doesn't work.

 You know, in particular, the crux of their argument is on

 page 14 of their TRO, and it goes like this, and it's an

 absolutist position that "a noncitizen with a removal order who

 departs from the United States, whether voluntarily or by the

 government's actions, has been removed."

            So just to begin with, a flight that transferred

 detainees with removal orders from Hawaii to the Continental

 United States would have effectuated a removal, and the

 government would have lost its ability to detain them further.

 I mean, such a flight goes over thousands of miles of

 international waters, and if their position is the second you

 leave the United States that a removal has been affected, the

 government's authority to detain you has evaporated, that's the

 first illogical consequence.

            There's also a flight -- you know, a flight from Miami

 to El Paso, for example, also flies over international waters.

 That would, apparently would be the end of the government's

 capacity to do anything further to effectuate the removal




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 because apparently the removal was affected somewhere on the

 plane.

            Let me, let me give additional examples as well.              A

 really interesting one comes from the Supreme Court's case in
 Jama v. ICE, where there Justice Scalia for the majority noted:

 "Removing an alien from Somalia apparently involves no more

 than putting an alien on one of the regularly-scheduled flights

 from Dubai or Nairobi and has been accomplished a number of

 times since petitioner's removal began."           That's 543 U.S. at

 344 to 45.

            So under plaintiffs' theory, once those people, the

 detainees that landed in Kenya or the UAE, under their theory,

 you effectuated a removal to Kenya or the UAE, the government

 has lost all capacity to detain you further.             You've been

 removed to those countries, and we could never get you to that

 further step to Somalia.       But that's simply not the law; and,

 in fact, that proposition in the Jama case was apparently so

 uncontroversial that no one thought to raise it even though

 it's squarely presented on the facts as described by the

 Supreme Court itself.

            THE COURT:    So departure from Continental United

 States does not always equate to removal?

            MR. ENSIGN:    And further -- not just departure but

 stepping foot on foreign soil does not effectuate a removal.

 And so once you accept that, that necessarily demonstrates the




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 government has the capacity to continue to detain you under

 1231(g).    And, in fact, it would be impossible to effectuate a

 system of removals, which are inherently extraterritorial in

 nature.    I mean, you can't have a removal to a foreign country

 without extraterritorial action.            It just -- by its very

 nature, and --

            THE COURT:     Tell me if the following is generally

 correct.    Imagine you have, hypothetically, an extremely

 dangerous drug kingpin from somewhere or could be an alleged

 terrorist, whatever, who's removed, final order of removal.

 And I'm going to say government because I don't want to suggest

 there's some narrow view of whose agency is relevant here, what

 agency, but FBI and some other folks are involved in the

 transport back home, so to speak.

            And they get on a flight, and the flight goes to that

 foreign country.        And again, we're talking about a dangerous

 person, just hypothetically.            And the U.S. government agents

 stay with that person for some period of time until there could

 be a safe transfer of the person to the foreign country.

 Imagine it takes a day, two, three, four.

            What is that person's status when in the custody of

 the United States government, in a sense, but physically

 present in another country?

            MR. ENSIGN:     Your Honor, and I think --

            THE COURT:     And my hypothetical might be off.             It




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 might be a little bit too generic.         I'm happy to hear

 corrections, but how do you think about how we think of the

 person in that period of time overseas?

            MR. ENSIGN:    Your Honor, the way I would conceptualize

 that is that they aren't removed until the United States

 government officials essentially release them.             And I think

 much like the stopover to refuel in Germany example that we had

 before, it seemed to turn at least, in some part, on intent.

            One of plaintiff's cases too involve someone that

 briefly got free, crossed the Canadian border before they were

 retrieved; and in part, that was not a removal because the

 United States government never intended for it to be removal.

            THE COURT:    So let me just --

            MR. ENSIGN:    Yeah.

            THE COURT:    -- play this out a little bit more.

            Government intends to have this hypothetical person

 returned to his or her home country, goes there.             Agents of the

 United States government go with that person, they're in the

 capitol city.     They're with that person -- dangerous person --

 and for whatever reason the deal breaks down.

            And then the foreign government refuses to take the

 person.    The United States government returns the person.              I'm

 not using that as a term of art, just brings the person back to

 the United States because that foreign government won't take

 the person.




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            Imagine this has taken five days.               There's a flight

 out, a couple days of negotiations, things break down, people

 aren't happy, they're in a hotel somewhere, and then they fly

 back.    And now they're back -- just make this Continental

 United States.     It's El Paso, or whatever.

            I take it the government's position is there has not

 been a removal because there wasn't enough that happened to

 give the person over to the other country; and correspondingly,

 that person remained detained by the United States during that

 period.    Do I have that right?

            MR. ENSIGN:    I believe that's an accurate statement of

 the United States' position.           I'd note too that -- and

 certainly there are examples where -- that for whatever reason

 the removal doesn't work and has to be essentially be

 reattempted.     There is an important limitation.              1231(g)

 recognizes that removal may take some time, and the Supreme

 Court in Zadvydas has recognized a presumptive six-month limit

 where that happens then --

            THE COURT:    Right.

            THE DEFENDANT:     So there are potential limits that

 come into play.     So if the government for whatever reason

 continually was unable to remove you, there are other

 limitations that may come into play.

            THE COURT:    It seems pretty clear to me that there are

 certain circumstances in which the government can operate in




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 the immigration space, so to speak, extraterritorially,

 including what we just talked about, but in the hypothetical I

 just mentioned, is the government exercising its -- forgive me,

 1231(g) authority?

            MR. ENSIGN:    That's our position, Your Honor, yes.

            THE COURT:    The authority is to arrange for

 appropriate places of detention, and is it your view that by

 sitting with a detainee in Capitol City X, awaiting a removal,

 that that's having -- that's an arranging for an appropriate

 place of detention?      It seems like a stretch, putting aside

 extraterritoriality, just asking whether that's what's going

 on.

            MR. ENSIGN:    Your Honor, I think perhaps that's too

 narrow, that it would be looking to 1231 more generally, which

 refers to basically the government's coercive authority to

 detain and move you in order to effectuate a removal.

            We think 1231(g) answers specifically the question of,

 you know, can you have overseas facilities by just defining it

 as the United States government facility in 1231(g).

            Furthermore, given the inherently extraterritorial

 nature of removal operations, we don't think the presumption of

 extraterritoriality applies.           The Supreme Court's case in RJR
 Nabisco notes that it can be -- it either doesn't apply or is

 rebutted by context.      Here the context is quite clearly, it's

 impossible to effectuate removal sometimes without




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 extraterritorial detention capacity.

            I could point, Your Honor, too to the countries of

 Monaco and Liechtenstein, which have no airports, and so it

 would be essentially impossible unless the government has this

 sort of extraterritorial detention capacity, to remove them to

 their home countries aside from, you know, some strange example

 of parachuting them in.

            THE COURT:     Right.I published -- or not published.          I

 issued an opinion in the last week in a case called MIA that

 deals with, among other things, the extraterritorial

 application of the TVPA.        So I get the general way of thinking

 about extraterritoriality.

            Is the presumption against extraterritoriality a

 presumption that applies to all statutes?            Obviously it can be

 overcome in context and language, but is it a presumption that

 applies across the board?

            MR. ENSIGN:     Your Honor, I think it's both a

 presumption that wouldn't apply, and if it applied does not --

 you know, is rebutted here.

            Removal operations are inherent -- like, are

 inherently extraterritorial in nature and also inherently

 involve the United States government's ability to conduct

 foreign policy.     Where you're in that context where things are

 inherently extraterritorial, we don't think the presumption has

 any application.        But if it did --




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            THE COURT:    But even if it did, it would make less

 sense here than in other contexts.

            MR. ENSIGN:    That's correct, Your Honor.          And I think

 it has less application here for the additional reason that the

 rationale for the presumption is to keep private parties from

 unexpectedly encountering regulatory requirements that they're

 not expecting and to avoid friction with foreign countries.

 But that's -- it's not to limit the authority of the United

 States government, particularly where it engages in activities

 that are inherently extraterritorial.

            THE COURT:    Right, and the TVPA context is the

 question of whether the cause of action applies to

 extraterritorial conduct, and one of the concerns there is if

 you allow private cause of actions to apply extraterritorially,

 it could affect or have an effect on the U.S. government's

 foreign policy or just general way in which it interacts with

 foreign governments.

            MR. ENSIGN:    That's correct, Your Honor.          And I

 believe the Supreme Court has recognized that for the Alien

 Tort Claims Act as well.

            And so for all of those reasons, that rationale of the

 presumption against extraterritoriality, is just not -- has no

 applicability.

            THE COURT:    So just to keep playing it out, that means

 that there is -- for whatever reason from the government's




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 perspective, there's no presumption against extraterritoriality

 in either the INA or 1231 or at least 1231(g).               Net-net, that

 means that 1231(g) gives the Attorney General the authority to

 arrange for appropriate places of detention, including

 extraterritorially?

            MR. ENSIGN:    Yes, and then, in particular, United

 States government facilities, which 1231(g) expressly

 acknowledges.

            And this Court, too, had a case construing the very

 closely related language of -- excuse me, just a second -- of

 the federal facility, and this is the al-Imam case, to mean a

 building or part thereof, or at least by the federal

 government.     And then specifically this Court found it to

 include component structures of military bases and diplomatic

 missions.

            So those are obviously extraterritorial locations, and

 there's no reason that United States government facilities

 should be read any differently than a federal facility.

            THE COURT:    So let's just assume hypothetically that

 the government has the authority to -- or the Attorney General,

 really, has the authority under this provision to arrange for

 detention at a military facility overseas.               The plaintiffs say,

 well, okay, but it still has to be done in a nonarbitrary and

 capricious manner.

            MR. ENSIGN:    Well, Your Honor, several reactions to




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 that, I think.

            First of all, once their argument that you can't

 categorically use Guantanamo because it's extraterritorial is

 rejected, then you're talking about the selection of different

 detention facilities which are all lawful.                That is squarely

 committed to the discretion of the Attorney General or DHS,

 rather -- then transferred to DHS.          And hence on the merits,

 that would fail.        But it would also encounter numerous and

 overlapping jurisdictional bars that would certainly prevent

 this Court from hearing it.

            Because staging at Guantanamo is an action to

 effectuate removal, 1252(b)(9) kicks in.            It provides that all

 questions of law providing for -- it provides for exclusive

 review in the Courts of Appeals for "all questions of law and

 fact...arising from any action taken or proceeding to remove an

 alien from the United States."

            Because Guantanamo is being used as a staging ground

 to effectuate removals, the 1252(b)(9) -- it's often called the

 zipper clause -- kicks in.        So to the extent that any federal

 court has jurisdiction to hear such a claim, it would be vested

 in the Courts of Appeals and not the U.S. District Courts.

            That's further supplemented by 1252(b), which provides

 that notwithstanding any other provision of law...no court

 shall have jurisdiction to hear any cause or claim on behalf --

 by or on behalf of any alien arising from the decision or




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 action of the Attorney General...to execute removal orders

 against any alien under this chapter.

            And then a third jurisdictional bar kicks in as well,

 and these are all overlapping within Section 1252, but it makes

 clear Congress really, really wanted to be clear about this.

 Section 1252(a)(2)(B)(ii) further bars reviews of discretionary

 actions by the Attorney General.

            And so as an APA claim rather than a statutory -- is

 an arbitrary and capricious claim, we would be in that

 committed agency discretion land.          It failed both on

 jurisdictional and APA committed agency discretion grounds.

            THE COURT:    And so let me just make sure I understand

 it.   I think I have it.

            If it's the case that the INA allows the government

 to, in the language of 1231(g), arrange for an appropriate

 place of detention to include a military base overseas, if that

 statutory authority exists, and then we're just asking whether

 there's an APA claim about the -- put it this way, the choice

 of a particular military facility --

            UNIDENTIFIED SPEAKER:        (Indiscernible comment and

 laughter on the public telephone line.)

            THE COURT:    I didn't think it was that funny.            Can

 somebody on the phone please mute?          Thank you.

            Once we're at that point, your view is, so if there's

 authority to do this, and now we're talking about the decision




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 about a particular military facility, then you start to run

 into INA preclusion of review and the like provisions because

 you've staked that you can do this, and now it's just a

 question of whether and how?

            MR. ENSIGN:    That's correct, Your Honor.           And then

 there's the additional potential APA bar that this Court

 recognized in the Vetcher case, which is that to the extent

 that something might sound in habeas and the concept of, like,

 you have no authority to hold me here whatsoever does, or you

 have no authority to hold me here because it's arbitrary and

 capricious.     This Court recognized that where a habeas claim is

 available, that's adequate alternative relief, and Section 702,

 therefore, doesn't allow APA review.

            THE COURT:    What about on the merits of the -- so, I

 get your position that these APA claims are not cognizable for

 various reasons, but the plaintiffs say just on standard

 arbitrary and capricious review, the government's reasons for

 opening Guantanamo are not nonarbitrary.            They're not non

 capricious.     What's your response to that?

            MR. ENSIGN:    Your Honor, and certainly we don't have

 the administrative record yet.          This is being presented in

 highly truncated accelerated form, but the simple answer is

 that detention capacity is incredibly necessary in order to

 effectuate removals, and it also incredibly scarce.

            There is available detention capacity at Guantanamo




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 because as Your Honor noted, it used to be used for principally

 Haitians that were interdicted on high seas, and so there was

 available detention capacity that was otherwise being unused.

            There's nothing about the APA that would suggests that

 you would have to fill every other detention bed everywhere

 else in the United States before you could use Guantanamo.

 That's simply not something the APA imposes.

            And furthermore, there's a very good reason to leave

 other detention capacity available, such that, you know, if you

 have a sudden surge, you have capacity to deal with that.                 And

 so how you manage detention capacity is one of those highly

 discretionary decisions, but there's an obvious rationale.                 We

 needed more detention capacity, and some was lying there

 unused.

            Their declarant, for example, said you shouldn't use

 Guantanamo.     You should, instead, build new facilities.               Even

 if you accept that at face value, we are less than 60 days into

 this administration.      You cannot build new facilities in that

 sort of time, but yet, their declarant apparently believes that

 we should have stood them up overnight rather than using

 Guantanamo, which was already stood up and that it was

 arbitrary and capricious not to do so.          And that's simply not a

 requirement that the APA imposes.

            THE COURT:    Is your understanding the same as

 plaintiffs' counsel, which is that there are not presently any




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 aliens with removal orders presently detained in Guantanamo?

            MR. ENSIGN:    That's correct, Your Honor.          That is not

 currently in the record, but that is the understanding that we

 have.

            THE COURT:    So the parties agree on that proposition;

 that is to say, there are not presently any alien

 post-removal-ordered detainees at Guantanamo?

            MR. ENSIGN:    Yes, Your Honor, and the parties further

 seem to agree that the most recent wave, there were 27

 different nationalities there, and not a single one of them was

 Venezuelan.

            THE COURT:    Are the plaintiffs right, generally

 speaking, that those 40-ish people from those 27-ish

 nationalities were returned to the Continental United States,

 at least for a period of time?

            MR. ENSIGN:    Your Honor, I don't know that for

 certain.    That's what's been reported.        I don't have any basis

 to contradict that, but I don't know that definitively.

            THE COURT:    Okay.   Do you want to respond to the

 substantive due process claim?

            MR. ENSIGN:    Certainly, Your Honor, a couple things.

 As Your Honor noted, we are not using -- we have not admitted

 that this is being used for general deterrence.             Instead, this

 is merely a component of the President's agenda to effectuate

 removals at a much greater rate to which adding detention




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 capacity is essential.

            In addition, too, the cases that plaintiffs cite for

 the proposition that general deterrence is not available do not

 actually hold that.      In particular, one of their cases merely

 holds that it was inconsistent with the then extant -- I think

 it was the Morton Directive.

            And the Court found it unnecessary to reach that

 question of general deterrence because it was contrary to then

 extant authority.       For whatever reason, I believe because it's

 no longer in force, plaintiffs have not renewed that argument

 that the general deterrence is contrary to DHS policy as a

 matter -- as opposed to the constitution.

            Furthermore, I think perhaps this isn't quite the

 merits, but to the extent that they're complaining about

 conditions, I'll first note this is probably the weirdest

 prison conditions case that Your Honor is ever likely to

 encounter.    It's a prison conditions case in which people have

 not been to the prison and have not encountered any of the

 conditions.

            I use prison only in a colloquial sense.            This is

 detention, but that's very weird.         But to the extent that it

 would be that, this Court in the Vetcher case recognized that

 those claims sound in habeas and hence cannot be raised through

 the APA.

            And for the similar reasons when I think habeas




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 applies, this Court should not imply a cause of action at

 equity to hear such claim when habeas is available.

            But, of course, habeas would require them to sue their

 current -- the people currently detaining them.             And those

 people are not in the District of Columbia.

            THE COURT:    Anything else you'd like to add before I

 turn it back to plaintiff -- excuse me, to turn it to your

 colleague to talk about the access case?

            MR. ENSIGN:    Just one further thing on the conditions.

            I think it's fair to say that plaintiffs challenge

 essentially every possible condition and policy in Guantanamo,

 or very much nearly so, and so this very much is the sort of

 action desiring whole scale changes that the Supreme Court in

 the Lujan one 1990 case recognized is not final agency action

 and it is not within the jurisdiction of these courts.

            THE COURT:    Thank you, counsel.

            MR. ENSIGN:    Thank you, Your Honor.

            THE COURT:    Ms. Wilson.

            MS. WILSON:    Good afternoon.

            THE COURT:    Good afternoon.

            MS. WILSON:    As Mr. Gelernt said, we've already

 managed to significantly narrow the issues for the access to

 counsel's TRO, so I'll just speak briefly on the three

 remaining points.

            So the first and the primary dispute is the in-person




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 access to counsel.      I'll direct the Court to the declaration,

 the Lopez Vega declaration, Paragraph 20.           I think that sets

 out in pretty sufficient detail the government's position on

 why we haven't reached a conclusion on providing the in-person

 access to counsel, that part of the declaration speaks to there

 being significant security concerns.

            Specifically, there's a question of whether counsel

 would need to have security clearance in order to access the

 detainees or to access the base.         There's also just a huge

 number of logistical issues that have to be managed.              It can

 take time to schedule those visits.

            In light of those security concerns and the logistical

 issues and in light of the current mission which has so far

 resulted in the individuals being detained for a very short

 period of time, it just hasn't been something that's made

 available.

            The declaration also makes clear that that's something

 the government is willing to continue to revisit and evaluate

 as that mission develops and as they can see how the access to

 counsel procedures that they've now put in place, how those

 work to resolve the issues that might be called for for

 in-person access.

            There was a reference to the law of war detainees.              I

 just want to make clear that that's a very different set of

 circumstances.     Those are folks that were there for a much




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 longer period of time, and it was, as you're familiar, it took

 a lot of time to negotiate and get that in place.              So we are

 now still less than a month in to this operation and just

 simply not in a place to make that available for this group of

 individuals.

            THE COURT:    So obviously a person sent to Guantanamo

 might want to litigate that question, the detention at

 Guantanamo, but might also want to press litigation on some

 issue that he or she would have pressed if in the Continental

 United States.

            So I get that these folks all have final orders of

 removal, but someone in El Paso with a final order of removal

 might want to file a habeas petition, might want to do some

 other -- take some other run at the adjudication that's already

 occurred.

            How able, from the government's perspective, would

 someone at Guantanamo who wishes to conduct that other kind of

 litigation, right, the kind that one might do from El Paso.

 How able is one able to do that compared to doing it from El

 Paso?

            MS. WILSON:    Your Honor, the record speaks to a

 comparison, but I do think the record lays out a clear path for

 those individuals to bring those claims.           So if they have

 counsel already prior to being transferred from El Paso to

 Guantanamo, then they would be able to have access to that




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 counsel.

            They could do that themselves by filling out the form

 and making a request for a telephone call; and alternatively,

 their counsel would be able to search for them within the

 detainee locator on ICE's website, figure out where their

 person was located, and then use the access procedures on ICE's

 website.    That would allow the attorney to email directly and

 schedule a time for them to speak about their new claims -- new

 or old claims.

            THE COURT:    Do you happen to know whether any of the

 detainees in the two cases -- so by that I mean the ten

 plaintiffs who are in the Continental United States right now

 who brought the second case, and then those people who were

 detained in Guantanamo as relevant to the first case, whether

 any of them had pending or has filed this other kind of

 litigation that I've been talking about for the non-Guantanamo

 filing or anything like that?

            MS. WILSON:    We're not aware of anyone who's filed

 anything.    I believe the first set of declarations indicated

 that someone was returned to the United States because their

 removal case was reopened, but I don't think we have any

 indication about whether that was based on something that

 happened while they were being held at Guantanamo.

            THE COURT:    Okay.

            MS. WILSON:    But the record does show that there's




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 been successful communications.         I think the most recent

 declarations were filed last night, indicate that there was an

 email sent that -- on a Friday afternoon, and there was a

 counsel visit arranged on the following Monday.             So I think

 there is some indication that the policies are working as

 they're intended to, even if they weren't able to result in

 successful filing.

            I would submit that that's probably more -- has more

 to do with the fact that we have very small lengths of time

 that folks are spending there so far, and so it's just

 simply -- although this case suggests otherwise, it's hard to

 get a filing on record within two weeks and certainly not for

 it to reach its final conclusions.

            THE COURT:    That's in person?

            MS. WILSON:    That's in person.

            The other two points I think were more minor, the

 discussion about the forms in other languages.             Again, I think

 our declaration, the Lopez Vega declaration at Paragraph 12

 indicates that we are open to providing more access or more

 translations as necessary.       That simply wasn't necessary with

 the first group of folks, but it would be something that we

 continue to evaluate as necessary.

            And then the final one was the discussion about

 whether they are able to reveal their location to their

 families on the telephone calls.         I mentioned previously that




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 the detainee locator now has that information.              So it's

 certainly not something that we're attempting to hide from

 family members, and we're not aware of any such restriction.

 We can certainly look into that further, though.

            I'm able to share that we haven't had any issues as

 far as we've known with detainees sharing information that they

 weren't supposed to share.       So to the extent that's a concern,

 it's not one that we've encountered.

            So I would just say altogether the available

 procedures certainly suggest that we've been able to go a long

 way to resolving the irreparable harm here.              Existing

 procedures would provide ample ways for individuals to then

 challenge these additional procedures that they might want

 because they've given -- they provide that sort of baseline

 access that would be necessary to bring them to court to make

 additional requests to change our procedures.

            THE COURT:    Thank you, counsel.

            MS. WILSON:    Thank you.

            THE COURT:    Mr. Gelernt, rebuttal?          Just one second.

            DEPUTY CLERK:     Just wanted to remind everyone on the

 phone to mute your line.       If there are any other disruptions,

 the call will be disconnected.

            MR. GELERNT:     Thank you, Your Honor.         Let me just

 start with one brief point about in person and security

 clearances.     A number of our counsel do have security




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 clearances, but the dispute with the government hasn't been

 they're going to allow us to come and we're complaining of how

 long it's going to take or the transportation or the security

 clearances.

            Right now there's just a flat ban.            So if the

 government feels like it's a matter of showing them that they

 have security clearances or those type of base security

 clearances, that's a different kind of conversation.               But we do

 think there's no reason for them to bar us, especially since

 the law of war detainees have in-person visits from counsel.

            Let me just, I guess, go to the statutory -- unless

 the Court has specific questions?         Okay.

            On the statutory point I think what it boils down to

 is this.    The government is saying it would be impossible for

 us to remove people if we didn't have detention authority

 extraterritorially because once the plane gets out of U.S. air

 space, we may have to detain people, we may have to refuel for

 a day, your hypothetical about maybe it's going to be two days,

 that's a very different thing than detention.              That's never

 been understood to be detention.         That's inherent in the

 transportation, that you have custody.          The government can't

 seriously --

            THE COURT:    No, but isn't there a slightly different

 point, which is that means that the grants of authority here in

 the statute have to be viewed as potentially extraterritorial,




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 maybe not necessarily 1231(g), but there are all these ways in

 which immigration has extraterritorial conduct?

            MR. GELERNT:     Right.

            THE COURT:    And so once you recognize that, then you

 ask yourself, well, does the presumption against

 extraterritoriality really make sense here or -- either does it

 not make sense or does it fall by the wayside when you think

 about all the ways that we normally analyze

 extraterritoriality?      And then you go look at 1231(g), and if

 there's no presumption against extraterritoriality, then

 perhaps it does grant affirmative authority to the Attorney

 General, DHS to do detention at a U.S. facility overseas.

            MR. GELERNT:     Right.      So let me, let me take both

 parts of it.     And as Your Honor pointed out, there's one

 question about whether the presumption even applies and then

 another question of whether it's rebutted.

            THE COURT:    Right.

            MR. GELERNT:     We think it has to apply to the INA.

 And we grant you that it would be provision-by-provision.                  But,

 I mean, the government, itself, has said that the presumption

 applies to the INA in Sale, and the fact that immigration

 generally has extraterritorial application, I think that would

 prove too much to say therefore we don't apply the presumption

 to anything within the INA.        And that would run counter to the
 Sale decision and the government's position in Sale and in




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 other cases.

            So I think -- and it's a matter of separation of

 powers, as Your Honor knows, to use the presumption, but I

 think the presumption applies.

            And then what the government's really saying is, well,

 because some provisions in the INA necessarily have

 extraterritorial application, i.e. removal, it necessarily

 means that detention does.       I think that's the crux of the

 dispute here:     Is detention really part and parcel of removal.

 And it has never been understood that way.

            The government, of course, has inherent authority to

 have custody of someone on the plane or the refueling, but they

 don't actually apply the traditional detention standards to

 those people.     And we know it's not -- detention is where

 there's a physical holding.        When you have removal, you have

 documents, clearing the way, manifest.          This is -- the people

 being sent to Guantanamo are not in any sense in the process of

 removal, and that's never been how the INA has been understood

 or the government, itself, has understood the difference

 between detention and removal.

            So I think the fact that they're saying if these

 particular detention statutes which deal with physical

 detention don't apply, then we lose all our authority to send

 people abroad because we can't hold them on the plane, that's

 just never been the way the government's understood their




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 authority or the way it necessarily needs to be understood.

            At this point because the government's argument

 doesn't have any stopgap, they could hold people at Guantanamo

 for the whole six months until someone brought a constitutional

 challenge that it was getting too long.            They can't seriously

 say, well, we don't have a country where we're going to send

 them, there's no manifest, there's no travel documents, but

 we're just going to put them in Guantanamo and that's part of

 removal; if that's the only way the government is getting

 around this is by saying every detention is part and parcel of

 removal -- and that's simply not true.           And, obviously, if our

 position was they can't hold people in custody on the plane

 going abroad, then we would have a real problem.              That's, of

 course, not our position.

            On the APA claim, I would say two things.             One is, I

 want to address the jurisdictional issues if Your Honor would

 like me to.

            THE COURT:    Yes.

            MR. GELERNT:     But on the APA claim, I think there's a

 part of what is going on is the government lawyer is supplying

 reasons that weren't in the declaration.            They say, well, we

 haven't been able to produce an administrative record.

            It's been a while now since they've started sending

 people to Guantanamo.       The memorandum didn't say they needed to

 do it immediately; it just said start building up the MOC.




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 Rather than building up the MOC, they send people to the MOC

 even before it was ready, and they also started sending people

 to Camp VI just so they could say they were doing it quickly.

            So in the detention capacity space, I think to say

 that the minimal number of people they're sending to Guantanamo

 now is because of detention capacity I think sort of blinks

 reality and the factual reality of what's going on.              And at a

 minimum, that one sentence is not sufficient in the

 government's declarations to satisfy arbitrary and capricious

 review.

            The government is, I think, putting most of their

 weight on the fact that they don't think this is reviewable.                I

 just want to tick through a couple of --

            THE COURT:    Sure.

            MR. GELERNT:     -- provisions.

            THE COURT:    Yeah.

            MR. GELERNT:     (B)(9) says you bring removal challenges

 in the Court of Appeals -- it's a channeling provision -- but

 you don't bring claims that couldn't be brought in the Court of

 Appeals by petition for review challenging your removal in that

 manner.    You bring them in District Court because your removal

 order has already been entered so there's no way to do it

 through the petition for review process.           That's fairly

 standard.

            And that's why cases like Jama in the Supreme Court,




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 Wynn in District Court.       That's why Jennings challenged the

 detention in the Supreme Court, was by District Court review.

 This is also not discretionary.

            A and C review is still available even if there's some

 amount of discretion.       You still can always -- the Court still

 can always under the APA test the rationales.             And I think

 maybe the government comes back and supplies real rationales at

 some point with administrative record, but right now they

 haven't.

            And they rushed so quickly to do it.           There was no

 reason for them to rush to send these 290 there, especially

 because the President was not asking them to do that.

            The President was, in fact, fairly limited in his

 request saying, get the MOC ready, build MOC capacity; not send

 people right now, send low-level people right now and send them

 to Camp VI.     So I think that is a significant, significant

 difference.

            On the conditions, I think the government ultimately

 is falling back on what Your Honor has been asking about:                 Is

 there irreparable harm.       But there's really no way to justify

 the shackling, the strip searches, the confinement chair under

 basic INS detention standards, ICE detention standards.                  So I

 think that's where we sort of are on the merits.

            Circling back to Your Honor's question that's been on

 your mind.    I hear the government saying they will allow --




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 they will alert us, or they will alert you after someone is

 sent to Guantanamo.      I don't think they've said how quickly

 they'll do it.

            They've also suggested that people can get in touch

 with their lawyers right away.          That's doubtful based on the

 record if you look at the declarations that we've submitted

 with our reply brief.       But I still come back to the point that

 there is harm being sent to Guantanamo, especially if you're

 going to be sent to Camp VI.

            THE COURT:    Thank you, counsel.

            MR. GELERNT:     Thank you, Your Honor.

            THE COURT:    Here's what I'm going to do.           I'm going to

 take a recess, and I'm going to come back and provide my

 thoughts and possibly oral resolution of both TROs.               I probably

 need something like 20 minutes.         So why don't we take at least

 a recess until 3:45.      In the event it's a little bit longer,

 Ms. Moore will know that and can let everybody know.               Thank you

 all.

            DEPUTY CLERK:     All rise.

      (A recess was taken at 3:27 p.m.)

            DEPUTY CLERK:     Your Honor, we are now back on the

 record.

            THE COURT:    Thank you, Ms. Moore.

            Upon reflection and after the recess, I have decided

 that I am, in fact, going to decide the motions in both cases




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 orally today.

            Today's hearing obviously consolidates two cases

 linked, at minimum, by a common background:              The United States'

 recent policy of holding aliens with final removal orders at

 Guantanamo Bay Naval Station in Cuba.

            Plaintiffs in Las Americas Immigrant Advocacy Center
 v. Noem, 25-cv-418 are immigration legal service providers and

 next friends of aliens held relatively briefly at Guantanamo

 before being sent to Venezuela.         We've been calling that the

 access case.

            Plaintiffs in Espinoza Escalona v. Noem, 25-cv-604, in

 turn, are ten aliens with orders of final removal currently

 being detained in the Continental United States who fear that

 their transfer to Guantanamo may be imminent.

            I think it is helpful to lay out some of the

 background facts, at least briefly.

            Guantanamo Bay Naval Station in Cuba -- I'm just going

 to call that Guantanamo for the rest of this hearing -- is a

 U.S. military base and the site of a U.S. military prison.                On

 January 29, 2025, President Trump issued a memorandum directing

 the Secretary of Defense and the Secretary of Homeland

 Security, "to take all appropriate actions to expand the

 Migrant Operations Center at Naval Station Guantanamo Bay to

 full capacity and to provide additional detention space for

 high priority criminal aliens unlawfully present in the United




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 States."

            On February 4, 2025, the government transferred ten

 immigration detainees from Fort Bliss, Texas to Guantanamo.

 Over the next two weeks, give or take, that number grew to 178.

   All of the detainees, or at least almost all, in this first

 wave were Venezuelan nationals.
            Las Americas was the first lawsuit filed against this

 backdrop; plaintiffs sought a temporary restraining order on

 the grounds that they were unable to communicate with the first

 wave of detainees, alleging that the government was

 restricting -- if not wholly preventing -- access to counsel.

 That TRO sought various forms of relief that I will not repeat

 now.

            On February 20th, while the parties were briefing that

 TRO motion according to the schedule laid out by this Court,

 the government removed the approximately 180 first wave

 detainees from Guantanamo.       All but one was repatriated to

 their native Venezuela.
            Espinoza Escalona, in turn, was filed on March 1st.

 Plaintiffs there seek an emergency motion to stay their

 transfer to Guantanamo.       Again, these ten plaintiffs are all

 aliens with final orders of removal who are currently detained

 in the Continental United States, but plaintiffs fear that they

 fit a specific profile that makes them prime candidates for

 Guantanamo transfer.      That's because they say of specific




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 attributes they share, a majority are from Venezuela, all have

 tattoos, and many have immigration-related criminal violations.

 Plaintiffs thus argue that they are at a heightened risk of

 transfer to GTMO.

            According to declarations submitted by the government,

 it intends to employ facilities at Guantanamo to house, "high

 priority criminal aliens unlawfully present in the United

 States."

            To that end, the Department of Defense assembled the

 Joint Task Force Southern Guard, an operation consisting of

 approximately 985 personnel.           It assists DHS.      Aliens housed at

 Guantanamo reside in one of two areas:            Camp VI, which houses

 higher-threat detainees and the aforementioned Migrant

 Operation Center, which houses lower-threat detainees.

            Also, according to those declarations and their

 supporting documents, DHS has posted written notice, in English

 and Spanish, of the procedure for making a request to speak to

 counsel.    For Camp VI detainees, counsel calls are conducted in

 an adjacent building with six telephones in six separate rooms.

 The building is a short walk from Camp VI, and two security

 personnel escort detainees from the camp to the building.

            For detainees housed at the Migrant Operations Center,

 counsel calls occur from an on-premises private room.                 Counsel

 that detainees have already retained may make requests for

 phone calls to their clients, and detainees have the ability to




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 send and receive legal mail.

            DHS, the government, further represents that it will

 continue to assess the operational needs of the Guantanamo

 detention operation and make adjustments to procedures as

 needed.

            As everyone heard earlier, at present the parties

 agree that there are currently zero aliens with final removal

 orders housed at Guantanamo after being sent there from the

 Continental United States.

            I'll now go case-by-case, beginning with Las Americas,

 and decide the TRO motions at issue.          I'm not going to repeat

 this, but as always, to obtain a TRO, quote, The moving party

 must show, (1) a substantial likelihood of success on the

 merits, (2) that it would suffer irreparable injury if an

 injunction were not granted, (3) that an injunction would not

 substantially injure other interested parties, and (4) that the

 public interest would be furthered by the injunction, end

 quote.

            Those are well-known factors, but that quote is from a

 D.C. Circuit case called Chaplaincy of Full Gospel Churches v.
 England, 454 F.3d 290 at 297 from 2006.

            Also, where, as here, the requested temporary relief

 would run against the government, the final two factors

 balancing the equities and the public interest merge.

            That TRO standard I just laid out is basically




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 identical for an emergency stay.

            Turning to Las Americas, because irreparable harm is

 the touchstone of preliminary injunctive relief and plaintiffs'

 allegations of irreparable harm necessarily inform the relief

 that I could conceivably order at this time, it's helpful to

 begin the analysis with this factor.

            The standard for irreparable harm is high.            To meet

 it, a plaintiff must demonstrate that it faces injuries that

 are, "certain, great, actual, and imminent."             As well as,

 "beyond remediation, period."

            Again, same case from the D.C. Circuit, Chaplaincy of
 Full Gospel Churches.

            Here, in light of the parties' representations and the

 discussions that occurred, the irreparable harm to plaintiffs

 would flow from the three remaining possible points of dispute.

 One, the lack of in-person counsel meetings.             Two, the posting

 of notices in English and Spanish only and not other languages.

 And three, the detainees are told they can't tell other people,

 such as family members, that they are at Guantanamo.

            But because there are no detainees currently at

 Guantanamo, I cannot see how these differences -- that is to

 say, these remaining points of dispute -- can cause anyone, and

 especially the plaintiffs in this case, irreparable harm.

            As for the family member plaintiffs -- that is family

 members of aliens who previously were briefly held at




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 Guantanamo -- their harms, if any, have already subsided.

 Their family members are no longer housed at Guantanamo, and

 these three potential problems with counsel access no longer

 apply.

            In other words, because the detention at Guantanamo of

 their family members is over, the family member plaintiffs are

 suffering no irreparable harm from these three points of

 dispute, and neither are their family member detainees

 themselves, such that there would be no irreparable harm even

 if they, the detainees themselves, were the plaintiffs.

            The legal advocacy plaintiffs are in a somewhat

 different position.      These plaintiffs do not attach themselves

 necessarily to particular detainees but rather to the

 open-ended universe of any aliens who may be detained at

 Guantanamo Bay.     So the fact that certain aliens were detained,

 but no longer are, doesn't necessarily end the inquiry.

            But again, because there are no detainees currently at

 GTMO, the legal advocacy plaintiffs cannot establish how these

 three points of contention, those that I've already laid out,

 can imminently and irreparably harm anyone, let alone them.

      To be sure, as I said, the legal advocacy plaintiffs

 attempt to tie themselves to the broad class of plaintiffs

 through next-friend and third-party standing.             But in my view,

 they have no significant relationship with the real party in

 interest as required for next-friend standing, and to establish




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 third-party standing, they must establish their own injury in

 fact to give them a sufficiently concrete interest in the

 outcome.

      They have failed to demonstrate this is likely; they make

 much of the fact that it is now more difficult for them to

 obtain clients, forcing them to divert additional resources to

 reaching detainees at Guantanamo.         But diverting those

 resources is their decision; the government's actions that

 allegedly make it more difficult to reach particular clients

 did not force the advocacy plaintiffs here to seek to represent

 them.

      The cases make clear that a plaintiff cannot manufacture

 its own standing by directing money towards a problem after

 that problem is already underway.

      So for that reason and the ones I've already discussed, in

 my view, the advocacy plaintiffs have failed to demonstrate

 that they will suffer irreparable harm absent the TRO sought

 here because neither party -- or no party can show irreparable

 harm absent a TRO.      This first factor cuts against one.

      Turning to the likelihood of success on the merits, the

 first question is whether it is likely that I have

 jurisdiction.     For the reasons I've just discussed, the legal

 advocacy plaintiffs likely lack Article III standing to bring

 this case.

      As for the next-friend plaintiffs, since their relatives




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 are no longer experiencing the claimed harms at issue, those

 plaintiffs would not be able to establish injury in fact for

 standing purposes, and/or their claims would be moot.

      I've already walked through some of the unique things about

 third-party standing, but here with respect to the next-friend

 standing alleged by the family plaintiffs, they must present an

 adequate explanation, such as inaccessibility, mental

 incompetence, or other disability why the real party in

 interest cannot appear on his own behalf to prosecute this

 action.

      There is no reason at this point why the family member

 detainees that have now been sent out of GTMO could not contact

 attorneys and litigate this matter on their own behalf, should

 they wish.

      Accordingly, in my view, it seems highly unlikely that

 these family member plaintiffs could establish next-friend

 standing.

      Thus, because no party has demonstrated that the Court

 likely has jurisdiction over its claims, no party has

 demonstrated that it is likely to succeed on the merits.

 That's the second factor.

      The final factor requires me to weigh the hardship to the

 plaintiffs if the TRO is not granted against the harm to the

 government if it is, together with the public interest; again,

 as I said before, these factors merge where the government is




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 the defendant.

      But because plaintiffs have not carried their burden on

 irreparable harm and likelihood of success, there's no need to

 examine the balance of the hardships in detail.

      I'm going to say something about this balance when I get to

 the next case, but there I'm citing Davis v. Pension Benefit
 Guarantee Corp., 571 F.3d 1288, D.C. Circuit, 2009.

      Turning to the second case, Espinoza Escalona.             Again, I'll

 begin with irreparable harm; where again, a plaintiff must

 demonstrate to get a TRO, that it faces injuries that are

 "certain, great, actual, and imminent."           As well as "beyond

 remediation."

      Plaintiffs argue that a loss of constitutional or statutory

 freedoms or rights, even for minimal periods of time,

 unquestionably constitutes irreparable injury.             They also argue

 that GTMO detainees or Guantanamo detainees have suffered harsh

 conditions while there, and they contend that a Guantanamo

 transfer will cause them irreparable reputational harm.

      The problem with each of these theories is that no alien

 with a final order of removal who was previously in the United

 States is currently detained at Guantanamo Bay.             That includes

 these ten plaintiffs.       In other words, none of these ten

 plaintiffs is currently detained at Guantanamo Bay.

      They argue, of course, that they may be sent there.                 But

 they have failed to demonstrate with the appropriate level of




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 certainty that they are actually bound for Guantanamo.                After

 all, "plaintiffs seeking preliminary relief must demonstrate

 that irreparable injury is likely in the absence of an

 injunction."     That's the Winter case, 555 U.S. at 22.

      A mere "possibility standard is too lenient."              Same case.

      Here, plaintiffs transfer to Guantanamo is purely a

 possibility; they base the likelihood primarily on the fact

 that they are men with final orders of removal, and for some

 their nationalities, physical appearance, and accusations of

 gang membership.        These attributes certainly render the

 plaintiffs' transfer within the realm of possibility, but they

 do not cross the threshold to likelihood.

      Moreover, as I explored with counsel for both parties, any

 harm from a transfer to Guantanamo, were to happen to any one

 of the ten plaintiffs, is largely not irreparable.

      In light of the practices in place for access to counsel,

 any transferred plaintiff would be able to contact the lawyers

 here who represent them and seek renewed injunctive relief.

      Moreover, the government has represented today that it will

 inform me if any fact in its briefs changes in a material way,

 which in my view would include the transfer to Guantanamo of

 any one or more of the ten plaintiffs.

      In the event that such a development were to occur and a

 renewed motion -- and the government has said it wouldn't

 oppose both amendment of the pleadings and at least the




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 renewing of a motion for injunctive relief -- and were I to

 find a renewed TRO motion or PI meritorious, in my view I could

 fashion relief at that time that would cure all, or just about

 all, alleged irreparable harm.

      Put differently, in my view, plaintiffs have failed to

 establish that they are presently suffering irreparable harm

 that needs to be redressed at present through a TRO rather than

 at some future potential date.

      Turning to likelihood of success on the merits, as in Las
 Americas, I conclude that this factor cuts against a TRO as

 well because plaintiffs have failed to establish they are

 likely to have Article III standing.

      Again, not to go through the law, but the injury for injury

 in fact "must be concrete, particularized, and actual or

 imminent."    For the reasons I've already stated, it is

 difficult to conclude that transfer to Guantanamo is imminent

 for any of the ten plaintiffs here.          There is no official

 administration policy, as far as I can tell and certainly not

 in the record, targeting Venezuelan nationals for such transfer

 or individuals with tattoos.

      Indeed, it is not even the case that all ten plaintiffs are

 Venezuelan nationals.       Their circumstantial observations,

 without more cannot, in my view, create Article III injury.

      Without that imminence, plaintiffs have failed to establish

 they are likely at this time to suffer any concrete,




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 particularized injury.

      As a result, just as in the other matter, plaintiffs likely

 lack standing to bring their claims, at least until they're

 actually transferred to Guantanamo.

      And, of course, a lack of standing would mean a lack of

 jurisdiction, and a lack of jurisdiction would mean a failure

 to establish a likelihood of success on the merits.              But

 plaintiffs' claims may have other deficiencies on the

 quote/unquote merits.

      I think there's a serious question whether the government's

 authority to open detention facilities under the statute that

 we discussed earlier -- my apologies, I don't have the cite --

 whether the government's authority to open detention facilities

 under the statute we discussed earlier extends to military

 bases overseas.

      As for their APA claims, plaintiffs' hypothetical future

 transfer to Guantanamo is not yet obviously a final agency

 action.    That is obviously true when, as here, the transfer

 hasn't happened; but even if it had, it's not clear to me that

 the action would be final in the APA sense because in transfer

 to a temporary holding facility en route to some other

 destination is not necessarily the consummation of the removal

 process.

      And, in any event, many transfer and removal and detention

 decisions are committed to agency discretion by law, which




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 could preclude APA review in this matter.

      As to the constitutional claims which are directed at the

 nature of the detention, it is almost impossible based on this

 record to conclude that the plaintiffs are likely to succeed on

 them when none of the plaintiffs is actually detained; and

 therefore, none of the plaintiffs can actually articulate the

 nature of the detention and the exact constitutional problem.

      For those reasons, while I think irreparable harm in both

 cases is by far the most important factor, I believe that in

 the second case, as well, that the plaintiffs have failed to

 establish that they are likely to succeed on the merits.

      Finally, turning to the final TRO/emergency stay factors

 that require me to weigh the hardship to the plaintiffs if

 relief is not granted against the harm to the government if it

 is, together with the public interest, all of which sort of

 blends together.

      Again, because plaintiffs have not carried their burden on

 irreparable harm and likelihood of success, there's no need to

 examine the balance of hardships in detail.

      This is what I mentioned earlier.           I was going to briefly

 discuss these questions here.           In my view, these factors do not

 cut substantially in plaintiffs' favor in either case.

      As to the plaintiffs in the second case, a Guantanamo

 transfer is a purely speculative harm for these plaintiffs, and

 in the other case, there is no likelihood that those plaintiffs




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 will suffer irreparable harm, given that they are no longer at

 Guantanamo, and, in fact, have been sent to their home

 countries, so to speak.

      Plaintiffs in the second case raise no objections to their

 current living state in government custody.              And in the second

 case, unlike the detainees in Las Americas, the plaintiffs in

 the second case have already retained counsel and will, thus,

 have advocates at the ready to make additional filings if and

 when the need arises.

      I therefore think that -- well, I think there is no

 irreparable harm that would occur, absent an injunction here.

 To the extent one were to disagree with that, the irreparable

 harm to the plaintiffs would be, at best, very modest.

      On the other hand, as the Supreme Court stated in a case

 called Nken -- perhaps that's how you pronounce it, N-K-E-N.

 "There is always a public interest in prompt execution of

 removal orders:     The continued presence, as the court put it,

 of an alien lawfully deemed removable undermines the

 streamlined removal proceeding congress established and permits

 and prolongs a continuing violation of United States law."

 That's a quote, and I'll just say end quote.

      The public, likewise, has an interest in the preservation

 of congressionally mandated executive discretion and authority

 and fundamentally executive matters regarding immigration.                At

 the very least here, these factors do not cut significantly in




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 plaintiffs' favor in either case.

      As a result, for all these reasons, I conclude that the

 plaintiffs in both cases before me today have not demonstrated

 that they will suffer irreparable injury absent a TRO or

 emergency stay; have not demonstrated they are likely to

 succeed on the merits as the cases are currently teed up, or

 that the balance of the hardships or public interest cuts

 significantly in their favor.

      I will accordingly deny the motion for a TRO in Las
 Americas, that's ECF 3, and the Espinoza Escalona plaintiffs'

 motion for an emergency stay of transfer in that case, which is

 ECF 2.

      Why don't we start with plaintiff counsel.            Happy to hear

 any objection you'd like to raise, but really what I'd like to

 do is talk about next steps.

            MR. GELERNT:     Thank you, Your Honor.

            THE COURT:    I know you'd like to, as always, probably

 be able to digest what I've said and to reflect on whether and

 to what extent you would like to challenge it or otherwise take

 additional steps.       I get that.

            MR. GELERNT:     So this is your ruling today, though?

            THE COURT:    It is.

            MR. GELERNT:     Yeah, right.

            THE COURT:    So what I'm going to do is I'm going to

 enter an order that will deny the TRO motions in both cases for




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 the reasons stated on the record today.

            MR. GELERNT:     So we appreciate Your Honor telling the

 government or getting the government's concession that they

 will let you know if anything changes.

            The only thing I would say is if -- I don't think

 there's any reason for the government to wait a day or two when

 they get to Guantanamo.       And once they're on the plane, it

 would be, I think, appropriate for the government to let you

 know immediately and for us, subject to your schedule, to be

 able to come back very quickly.

            THE COURT:    Thank you, counsel.

            Okay, I'll hear from the government on that question.

 Counsel?

            MR. ENSIGN:    Thank you, Your Honor.         In terms of

 proceeding next, we anticipate that we would file a motion to

 dismiss at the appropriate time, and we can brief the remaining

 issues.

            As to that, I'll have to talk to DHS.           I don't know

 how quickly they would let us know.          I mean, certainly within

 DOJ we are not going to delay providing that information to

 this Court, and we'll reach out to them to let them know that

 they should let us know promptly if they were to transfer any

 of these detainees to Guantanamo.

            I believe, I think it's paragraph 38 of one of the

 declarations explains that it wasn't imminent.             That continues




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 to be the case to the best of my knowledge, but we will do so

 certainly quickly.      I'm not prepared to offer realtime

 information.

            THE COURT:    Let's do the following.         I'm not presently

 ordering the government to tell me if one of the ten plaintiffs

 is or has gone to Guantanamo by a particular time.              I'm not

 doing that today.

            What I would like to know is the government's

 position, and why don't we say by Wednesday of next week, you

 can submit a notice that tells me or the plaintiffs here

 essentially how early in the process the government would be

 prepared to tell me if a transfer occurs or has occurred.

            And then depending on what I hear from the government,

 I will think through whether I want to order something that is

 quicker, earlier, or different.         But I'm not imposing that

 until I hear from you about what DHS is prepared basically to

 -- or the government is prepared to do absent an order.                  Okay?

            MR. ENSIGN:    Understood, Your Honor.         And we will

 certainly provide you our position by that time.

            THE COURT:    You can just file on the public record a

 notice of government position or something like that.               Okay?

            MR. ENSIGN:    Sounds good, Your Honor.

            THE COURT:    Anything else you'd like to discuss today?

            MR. ENSIGN:    No, Your Honor.

            THE COURT:    Okay.   Thank you all.




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      (Proceedings concluded at 4:18 p.m.)




                          C E R T I F I C A T E



            I, Stacy Johns, certify that the foregoing is an

            accurate transcription of the proceedings in the

            above-entitled matter.




             /s/ Stacy Johns                     Date: March 18, 2023

             Stacy Johns, RPR, RCR
             Official Court Reporter




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